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                                                     KASOWITZ BENSON TORRI                                                 ll.JSDSSDNY
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                    DANIEL   .J   ~ETTERMAN
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                                              CHAMBERS OF KIMBA M. WOOD
                                                   U.S.D ... -S D.N Y                                               March 13, 2018



                         Honorable Kimba M. Wood
                         United States District Judge
                                                                                                                                      MEMO ENDORSED'
                         Daniel Patrick Moynihan Courthouse
                      -· 5.Q.q_j:(?arl .?.tr.e~,.J;Q1lt1!:2Qm 2,QA __
 --·                     New York, New York 10007-1312

                                      Re:       United States v. Joseph Meli, 1: l 7-cr-00127-KMW-2

                           Dear Judge Wood:

                                   We represent Joseph Meli in the above-referenced matter. With the Government's
                          consent, we respectfully request a 24-hour extension to file Mr. Meli's sentencing memorandum               1
                          on March 14, 2018, and that the Government be granted a corresponding 24-hour extension so    v1 (?i "-'! '11                   J
                          that its responsive papers would be due on March 21, 2018.                                    -J
                                                                                                                    Respectfully,

                                                                                                                   Isl Daniel J. Fetterman
                                                                                                                    Daniel J. Fetterman

                           cc:         Daniel L. Stein                                   Tiffany Francis
                                       AUSA Elisha Kobre                                 U.S. Pre-Trial Services Officer
                                       AUSA Brendan Quigley                              (Via email: tiffany_francis@nyspt.uscourts.gov)
                                       (Via ECF)
-.   -.......   -- -                                                                     .,    _...,__.........   ---


                                                                                                                   SO ORDERED:               N.Y., N.Y.   3/ 11 I }Y
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                                                                                                                         KIMBA M. WOOD
                                                                                                                             U.S.D.J.
